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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS

                                                 )
HEATHER WRIGHT, CAROLE STEWART,                  )   Civil Action No. 1:14-cv-10457
JEANETTE CHILDRESS, MICHAEL                      )
DOYLE, ROBERT JORDAN, SEAN                       )
HALBERT, DANA SKELTON, ROGER                     )   CLASS ACTION
REED, VANESSA RUGGLES and ROSE                   )
SOMERS, individually and on behalf of all        )   JURY TRIAL DEMANDED
others similarly situated,                       )
                                                 )   Hon. Edmond E. Chang
                      Plaintiffs,                )
                                                 )
v.                                               )
                                                 )
NATIONSTAR MORTGAGE LLC, a                       )
Delaware limited liability company,              )
                                                 )
                      Defendant.                 )
                                                 )


            ANSWER TO FIRST AMENDED CLASS ACTION COMPLAINT

       Defendant Nationstar Mortgage, LLC (“Nationstar”), for itself and for no other party,

hereby answers Heather Wright, Carole Stewart, Jeanette Childress, Michael Doyle, Robert

Jordan, Sean Halbert, Dana Skelton, Roger Reed, Vanessa Ruggles and Rose Somers

(“Plaintiffs”) First Amended Complaint (the “FAC”) as follows:

                                    NATURE OF THE ACTION

       1.      Defendant Nationstar is a mortgage lender and servicer.

ANSWER: Nationstar admits that it is a mortgage lender and servicer.

       2.      On an ongoing basis, Defendant repeatedly makes unsolicited telephone calls to

Plaintiffs’ and the other putative Class members’ cellular and landline telephones in violation of

the Telephone Consumer Protection Act, 47 U.S.C. § 227.

ANSWER:       Nationstar denies violating any provisions of the Telephone Consumer
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Protection Act (“TCPA”), codified at 47 U.S.C. § 227 et seq. or any other statutory or

common law in any manner, and denies that this action is appropriate for class treatment.

Nationstar also denies that Plaintiffs and the purported classes they seek to represent are

entitled to any damages, remedies, or recovery from Nationstar.

       3.      By making the telephone calls at issue in this Complaint, Defendant has caused

Plaintiffs and the members of the Classes (as defined herein) actual harm.

ANSWER: Nationstar denies these allegations.

       4.      Defendant routinely makes these telephone calls despite the fact that neither

Plaintiffs nor the other members of the putative Class have ever provided their:

               (i)    consent to be called on the specific telephone numbers that Defendant

                      actually called; and/or

               (ii)   consent to be called with an automatic telephone dialing system or a

                      prerecorded voice.

ANSWER: Nationstar denies placing calls to its customers without prior express consent,

denies violating any provisions of the TCPA or any other statutory or common law in any

manner, and denies that this action is appropriate for class treatment.

       5.      In response to Defendant’s unlawful conduct, Plaintiffs bring the instant lawsuit

seeking an injunction requiring Defendant to cease all unsolicited telephone calling activities and

an award of statutory damages to the members of the four Classes (defined below) under the

TCPA, together with costs and reasonable attorneys’ fees.

ANSWER: Nationstar admits only that Plaintiffs seeks legal and equitable remedies under

the TCPA. Nationstar denies violating any provisions of the TCPA or any other statutory

or common law in any manner, and denies that this action is appropriate for class




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treatment. Nationstar also denies that Plaintiffs and the purported classes they seek to

represent are entitled to any damages, remedies, or recovery from Nationstar.

                                            PARTIES

       6.     Plaintiff Heather Wright is a natural person and citizen of the State of Illinois.

ANSWER: Nationstar admits on information and belief that Plaintiff Heather Wright

resides in Illinois. To the extent a response is required, Nationstar is without sufficient

knowledge or information to form a belief as to the truth of the remaining allegations in

this Paragraph and, on that basis, denies them.

       7.     Plaintiff Carole Stewart is a natural person and citizen of the State of Illinois.

ANSWER: Nationstar is without sufficient knowledge or information to form a belief as to

the truth of the allegations in this Paragraph and, on that basis, denies them.

       8.     Jeanette Childress is a natural person and citizen of the State of Washington.

ANSWER: Nationstar admits on information and belief that Plaintiff Jeanette Childress

resides in Washington.      To the extent a response is required, Nationstar is without

sufficient knowledge or information to form a belief as to the truth of the remaining

allegations in this Paragraph and, on that basis, denies them.

       9.     Plaintiff Michael Doyle is a natural person and citizen of the State of New Jersey.

ANSWER:      Nationstar admits on information and belief that Plaintiff Michael Doyle

resides in New Jersey. To the extent a response is required, Nationstar is without sufficient

knowledge or information to form a belief as to the truth of the remaining allegations in

this Paragraph and, on that basis, denies them.

       10.    Plaintiff Robert Jordan is a natural person and citizen of the State of California.

ANSWER: Nationstar is without sufficient knowledge or information to form a belief as to




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the truth of the allegations in this Paragraph and, on that basis, denies them.

       11.     Plaintiff Sean Halbert is a natural person and citizen of the State of California.

ANSWER: Nationstar admits on information and belief that Plaintiff Sean Halbert resides

in California.   To the extent a response is required, Nationstar is without sufficient

knowledge or information to form a belief as to the truth of the remaining allegations in

this Paragraph and, on that basis, denies them.

       12.     Plaintiff Dana Skelton is a natural person and citizen of the State of California.

ANSWER: Nationstar admits on information and belief that Plaintiff Dana Skelton resides

in California.   To the extent a response is required, Nationstar is without sufficient

knowledge or information to form a belief as to the truth of the remaining allegations in

this Paragraph and, on that basis, denies them.

       13.     Plaintiff Roger Reed is a natural person and citizen of the State of Illinois.

ANSWER: Nationstar admits on information and belief that Plaintiff Roger Reed resides

in Illinois. To the extent a response is required, Nationstar is without sufficient knowledge

or information to form a belief as to the truth of the remaining allegations in this

Paragraph and, on that basis, denies them.

       14.     Plaintiff Vanessa Ruggles is a natural person and citizen of the State of California.

ANSWER: Nationstar is without sufficient knowledge or information to form a belief as to

the truth of the allegations in this Paragraph and, on that basis, denies them.

       15.     Plaintiff Rose Somers is a natural person and citizen of the State of Kentucky.

ANSWER: Nationstar admits on information and belief that Plaintiff Rose Somers resides

in Kentucky.     To the extent a response is required, Nationstar is without sufficient

knowledge or information to form a belief as to the truth of the remaining allegations in




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this Paragraph and, on that basis, denies them.

        16.     Defendant Nationstar is a limited liability company organized and existing under

the laws of the State of Delaware with its principal place of business located at 350 Highland

Drive, Lewisville, Texas 75067. Defendant Nationstar is also registered to do business with the

Illinois Secretary of State. Nationstar does business throughout the United States, the State of

Illinois, and in this District.

ANSWER:         Nationstar admits that Nationstar Mortgage, LLC is a limited liability

company organized and existing under the laws of the State of Delaware and has an office

located at 350 Highland Drive, Lewisville, Texas 75067. Nationstar also admits that it is

registered to do business with the Illinois Secretary of State, and that it does business

throughout the United States and in the State of Illinois.

                                  JURISDICTION AND VENUE

        17.     This Court has federal question subject matter jurisdiction under 28 U.S.C. §

1331, as the action arises under the Telephone Consumer Protection Act, 47 U.S.C. § 227, a

federal statute designed to protect consumers’ privacy with respect to their cellular and

residential landline telephone numbers and accounts.

ANSWER:         Nationstar admits that this Court has federal question subject matter

jurisdiction under 28 U.S.C. § 1331 as the action arises under the Telephone Consumer

Protection Act, 47 U.S.C. § 227, a federal statute. To the extent a response is required,

Nationstar is without sufficient knowledge or information to form a belief as to the truth of

the remaining allegations in this Paragraph and, on that basis, denies them.

        18.     The Court has personal jurisdiction over Defendant and venue is proper in this

District because Defendant has repeatedly engaged in the wrongful conduct described herein in




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this District. Additionally, venue is proper in this District because Plaintiffs Wright, Stewart and

Reed are citizens of the State of Illinois and received illegal telephone calls made by Defendant

in the State of Illinois and in this District.

ANSWER: Nationstar is without sufficient knowledge or information to form a belief as to

the truth of the allegations in this Paragraph and, on that basis, denies them.

         19.    In addition, Defendant also transacts significant amounts of business within this

District, directs telephone calls here, solicits customers here, and enters into consumer and

business contracts here.

ANSWER: Nationstar admits that it services loans for customers in the state of Illinois.

Nationstar is without sufficient knowledge or information to form a belief as to the truth of

the remaining allegations in this Paragraph and, on that basis, denies them.

                             COMMON FACTUAL ALLEGATIONS

The Telephone Consumer Protection Act

         20.    The Telephone Consumer Protection Act was passed by the United States

Congress in 1991 and is codified as 47 U.S.C. § 227. The TCPA limits the use of automatic

telephone dialing systems, artificial or pre-recorded voice messages, SMS text messages, and

faxes.

ANSWER: Paragraph 20 does not assert allegations against Nationstar. To the extent a

response is required, Nationstar denies that this paragraph completely and accurately

describes the TCPA’s mandates.

         21.    Specifically, with respect to calls made to cellular telephones, the TCPA prohibits

the use of any automated telephone dialing system or any artificial or prerecorded voice unless

the recipient expressly consents to the receipt of such calls on his/her/its cellular telephone.




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ANSWER: Paragraph 21 does not assert allegations against Nationstar. To the extent a

response is required, Nationstar denies the allegations of this paragraph.

       22.     With respect to calls made to residential telephones, the TCPA prohibits the use

of any artificial or prerecorded voice to deliver a message unless the recipient expressly consents

to the receipt of such calls on his/her residential telephone.

ANSWER: Paragraph 22 does not assert allegations against Nationstar. To the extent a

response is required, Nationstar denies the allegations of this paragraph.

       23.     According to the Federal Communications Commission-the agency tasked with

promulgating the implementing regulations of the TCPA-to be considered “express consent,”

such consent must: (i) be in writing; (ii) be signed by the person providing the consent; (iii)

specify the telephone number to which the person is consenting to be called; and (iv) clearly

authorize the calling party to use an automated dialing system or prerecorded voice. See In the

Matter of Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991,

FCC Report and Order, CG Docket No. 02-278 (Feb. 15, 2012) ¶ 33, Appendix A, at 34.

ANSWER: Paragraph 23 does not assert allegations against Nationstar. To the extent a

response is required, Nationstar admits that Plaintiffs appears to quote from an FCC

publication but denies that this paragraph completely or accurately quotes all of the

language of this publication.

Nationstar Has Repeatedly, Knowingly and Willfully Violated The TCPA by Placing
Telephone Calls Using an Automated Telephone Dialing System and with an Artificial
and/or Prerecorded Voice Without Obtaining Class Members’ Express Consent To Do So

       24.     Nationstar is a “non-bank residential mortgage servicer” that provides “a range of

services across the residential mortgage product spectrum.” In general, a mortgage servicer is a

third-party that is hired by an investor or owner of a loan to perform the mortgage servicing



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function with respect to a loan or group of loans (called a portfolio). Mortgage servicers send

out bills, collect payments, allocate the monies collected in accordance with the servicing

agreement, calculate escrow, and, in certain circumstances, engage in loss mitigation efforts and

foreclosure and foreclosure alternatives.

ANSWER: Nationstar admits that it is a mortgage servicer and that it is not a bank.

Nationstar admits that many mortgage servicers provide many of the services described in

this paragraph but is otherwise without sufficient knowledge or information to form a

belief as to the truth of these allegations and, on that basis, denies them.

       25.     Defendant placed and continues to place repeated telephone calls to consumers

who never provided Defendant (or any third party associated with their respective mortgages)

with consent to call such numbers.

ANSWER: Nationstar denies these allegations.

       26.     Defendant’s calls are made for the purpose of collecting alleged debts, to

purportedly “remind” consumers to pay their mortgages, and for potentially other, non-debt

collection reasons.

ANSWER: Nationstar admits that it places calls to its customers for various purposes,

including account servicing. Nationstar is without sufficient knowledge or information to

form a belief as to the truth of the remaining allegations in this Paragraph and, on that

basis, denies them.

       27.     Defendant’s calls often come on a daily basis and often, multiple times per day.

ANSWER: Nationstar admits it calls customers on a regular basis in accordance with state

and federal laws and regulations.

       28.     In making the calls at issue in this Complaint, Defendant, and/or its agents utilize




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an automatic telephone dialing system (“ATDS”). Specifically, the hardware and software used

by Defendant and/or its agents has the capacity to generate and store random numbers, or receive

and store lists of telephone numbers, and to dial those numbers, en masse, in an automated

fashion without human intervention. The automated dialing equipment also is, or includes

features substantially similar to, a predictive dialer, meaning that it is capable of making

numerous phone calls simultaneously and automatically connecting answered calls to then

available callers or recordings and disconnecting the rest of the calls (or placing them on hold).

Accordingly, consumers receiving calls from Defendant and/or its agents are frequently

confronted with dead air or the sound of the call being disconnected (otherwise known as an

“abandoned call”).

ANSWER: Nationstar denies that it made telephone calls using equipment that had the

capacity to store, generate, or produce telephone numbers to be called using a random or

sequential number generator, or that it placed calls without human intervention.

Nationstar also denies using an automatic telephone dialing system. Nationstar is without

sufficient knowledge or information to form a belief as to the truth of the remaining

allegations in this Paragraph and, on that basis, denies them.

       29.     Defendant admits that it has been using predictive dialing technology since at

least as early as 2012. In Defendant’s Form S-1 dated February 24, 2012, Defendant states “[i]n

the account resolution group, we use a combination of predictive dialer technology and account

level assignments to contact the borrowers.” Form S-1 dated February 24, 2012 at 125.

ANSWER: Nationstar is without sufficient knowledge or information to form a belief as to

the truth of the allegations in this Paragraph and, on that basis, denies them.

       30.     Defendant’s particular automated telephone dialing system is known as the




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“Avaya Proactive Contact” system. According to Avaya Inc., the “Avaya Proactive Contact”

system is a “predictive dialing system” that uses “the most advanced dialing algorithms available

to optimize your outbound communication campaigns.” In particular, the “Avaya Proactive

Contact” system enables Nationstar to “set up campaigns and manage multiple dialers across

[its] organization... [and to] define and manage various outbound campaigns for marketing, sales

and accounts payable all from a single system.”

ANSWER: Nationstar denies that it placed calls using an ATDS. Nationstar is without

sufficient knowledge or information to form a belief as to the truth of the allegations in this

Paragraph and, on that basis, denies them.

       31.     According to Avaya Inc., the “Avaya Proactive Contact” system is built with

several features that enable Nationstar to “comply with even the most restrictive regulations.”

Despite having this capability, however, Defendant does not utilize the compliance functionality

of its “Avaya Proactive Contact” system to ensure that the company is “adhering to strict

regulatory compliance.” Instead, Defendant routinely violates the TCPA by using its “Avaya

Proactive Contact” system to call the telephones of Class members without having obtained their

express consent to do so.

ANSWER: Nationstar places calls to customers in accordance with state and federal laws

and regulations and denies that it placed calls without prior express consent. Nationstar

lacks sufficient knowledge or information to form a belief as to the truth of the remaining

allegations and, on that basis, denies them.

       32.     Defendant’s records contain evidence of the fact that Defendant repeatedly

violated the TCPA by utilizing its “Avaya Proactive Contact” automated telephone dialing

system to call Class members’ telephones without having obtained express consent to do so. For




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example, Defendant’s records identify the exact date and time of each and every call made by

Nationstar and whether the call was made by Nationstar’s “Avaya Proactive Contact” automated

telephone dialing system. The specific calls that were made by Nationstar’s “Avaya Proactive

Contact” automated telephone dialing system are identified within Defendant’s records by the

labels “AVAYA,” “PRE RECORDED DIALER MESSAGE,” “PRDM,” “CALL

ANSWERED NO POSITIVE VOICE ID DETECTED,” or “CALL DROPPED FROM

DIALER HOLD, NO AGENT AVAIL.”

ANSWER: Nationstar denies that it placed calls to its customers without prior express

consent. Nationstar is without sufficient knowledge or information to form a belief as to

the truth of the remaining allegations in this Paragraph and, on that basis, denies them.

       33.     Defendant’s calls to cellular and residential landline phones also feature artificial

or pre-recorded messages instead of live operators.

ANSWER: Nationstar is without sufficient knowledge or information to form a belief as to

the truth of the allegations in this Paragraph and, on that basis, denies them.

       34.     Making Defendant’s calls all the more problematic, the pre-recorded messages do

not provide Class members with an option to stop the calls. To speak with a live operator and

request that the calls stop, a consumer must provide personally identifying information such as a

social security number.

ANSWER: Nationstar is without sufficient knowledge or information to form a belief as to

the truth of the allegations in this Paragraph and, on that basis, denies them.

       35.     This barrier is particularly problematic because Defendant places unwanted

telephone calls to consumers who do not have a mortgage with or serviced by Defendant.

ANSWER: Nationstar is without sufficient knowledge or information to form a belief as to




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the truth of the allegations in this Paragraph and, on that basis, denies them.

       36.     Even when consumers are called and connected to a live operator-and even when

they make explicit requests to Defendant to stop receiving telephone calls from Defendant-the

calls continue in direct contradiction to those requests.

ANSWER: Nationstar is without sufficient knowledge or information to form a belief as to

the truth of the allegations in this Paragraph and, on that basis, denies them.

       37.     Defendant was and is aware that the above described telephone calls were and are

being made to consumers without their prior express consent to receive them.

ANSWER: Nationstar denies that it placed calls to customers without their prior express

consent.

Class Members Express Their Outrage Over Defendant’s Illegal Telephone Calls

       38.     Class members have voiced their outrage over Defendant’s repeated violations of

the TCPA. A sampling of such complaints is provided below:

               a.      “I mailed a pmt. to Nationstar immediately, but I have been getting daily

       robo calls harassing me. I have never been late on any payments in more than 40 years”;

               b.      “Since my loan was sold to Nationstar, I received daily (or more) Robo

       Calls to my cell. As with others, no response when I answered. Tried customer service

       but gave up after a long wait. Sent email from their website, no response. Finally logged

       FCC & BBB complaints”;

               c.      “I am getting daily robo calls on my cell phone since my mortgage was

       sold to them. I tried calling their customer service, but can’t find a way to speak to

       anyone! Will never voluntarily do business with this company. I logged a complaint with

       BBB”;



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                d.    “NationStar Mortgage Company... They robo call multiple times day and

       night. It doesn’t matter that you make your monthly mortgage payments.”;

                e.    “NationStar will ROBO CALL customers on the 4th or 5th of every

       month, even with customers that have never been late!!!

       This is a very UNPROFESSIONAL company... Having never missed a payment since

       they purchased my loan from Bank of America, they execute ROBO CALLING starting

       on the 4th of every month makes them a very sub par company. I CANNOT wait for my

       Re-finance process to complete (with a different lender of course) so I can move onto a

       different servicer. They ARE THE WORST.”;

                f.    “This company is horrible. They recently assumed my mortgage from a

       real bank.    The mortgage has never been late, not even a day.          It has come out

       electronically for years on the same day, right on time, never bouncing, never rejected,

       etc. Yet Nationstar subjected me to a barrage of personal and electronic robo calls.”

ANSWER: Nationstar is without sufficient knowledge or information to form a belief as to

the truth of the allegations in this Paragraph and, on that basis, denies them. Also, this

paragraph consists of unsubstantiated assertions that are immaterial and impertinent to

this lawsuit.

       39.      Complaints regarding Defendant’s conduct have not been limited to Internet

postings. In fact, Defendant has been sued multiple times in various jurisdictions in individual

actions for violating the TCPA by routinely placing calls with an automated telephone dialing

system or prerecorded voice to Class members’ phones without express consent to do so.

ANSWER: Nationstar is without sufficient knowledge or information to form a belief as to

the truth of the remaining allegations in this Paragraph and, on that basis, denies them.




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Also, this paragraph consists of unsubstantiated assertions that are immaterial and

impertinent to this lawsuit.

         40.   The fact that Defendant has been sued numerous times in individual actions based

on the fact that Defendant has routinely placed calls with an automated telephone dialing system

or prerecorded voice to cellular and residential phones without express consent to do so very

clearly demonstrates that Defendant’s continued violation of the TCPA is knowing and willful.

ANSWER: Nationstar denies the allegations.

                       FACTS SPECIFIC TO PLAINTIFF WRIGHT

         41.   Plaintiff Wright’s mortgage is presently serviced by Defendant Nationstar.

ANSWER: Nationstar admits that Plaintiff Wright has a mortgage that is serviced by

Nationstar.

         42.   Since at least February 2014, Defendant has placed numerous telephone calls to

Plaintiff Wright’s cellular phone without having obtained her express consent to do so.

ANSWER: Nationstar denies these allegations.

         43.   Each of these telephone calls was initiated with an ATDS and each of the

telephone calls were made to “remind” Plaintiff Wright to pay her mortgage, even though

Plaintiff Wright was still within the grace period for such payments.

ANSWER: Nationstar denies that it placed calls to Wright using an automatic telephone

dialing system. Nationstar is without sufficient knowledge or information to form a belief

as to the truth of the allegations in this Paragraph and, on that basis, denies them.

         44.   Plaintiff Wright did not consent to receiving these telephone calls on her cellular

phone.    Furthermore, Plaintiff Wright expressly revoked any purported consent to call her

cellular phone that may have been given.




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ANSWER: Nationstar denies these allegations.

       45.      Defendant was and is aware that the above described telephone calls were and are

being made to Plaintiff Wright’s cellular telephone number without her prior express consent to

receive them.

ANSWER: Nationstar denies these allegations.

       46.      The last four digits of Plaintiff Wright’s cellular telephone number are 1612.

ANSWER: Nationstar admits that a phone number associated with Wright’s account ends

in number -1612. Nationstar is without sufficient knowledge or information to form a

belief as to the truth of the remaining allegations in this Paragraph and, on that basis,

denies them.

                       FACTS SPECIFIC TO PLAINTIFF STEWART

       47.      Plaintiff Stewart’s mortgage is presently serviced by Defendant Nationstar.

ANSWER: Nationstar is without sufficient knowledge or information to form a belief as to

the truth of the allegations in this Paragraph and, on that basis, denies them.

       48.      Since at least October 2014, Defendant has placed numerous telephone calls to

Plaintiff Stewart’s cellular phone without having obtained her express consent to do so.

ANSWER: Nationstar is without sufficient knowledge or information to form a belief as to

the truth of the allegations in this Paragraph and, on that basis, denies them.

       49.      Each of these telephone calls was initiated with an ATDS and each of the

telephone calls were made to “remind” Plaintiff Stewart to pay her mortgage, even though

Plaintiff Stewart was still within the grace period for such payments.

ANSWER: Nationstar is without sufficient knowledge or information to form a belief as to

the truth of the allegations in this Paragraph and, on that basis, denies them.




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         50.    Plaintiff Stewart did not consent to receiving these telephone calls on her cellular

phone.

ANSWER: Nationstar is without sufficient knowledge or information to form a belief as to

the truth of the allegations in this Paragraph and, on that basis, denies them.

         51.    Defendant was and is aware that the above described telephone calls were and are

being made to Plaintiff Stewart cellular telephone number without her prior express consent to

receive them.

ANSWER: Nationstar is without sufficient knowledge or information to form a belief as to

the truth of the allegations in this Paragraph and, on that basis, denies them.

         52.    The last four digits of Plaintiff Stewart’s cellular telephone number are 3040.

ANSWER: Nationstar is without sufficient knowledge or information to form a belief as to

the truth of the allegations in this Paragraph and, on that basis, denies them.

                      FACTS SPECIFIC TO PLAINTIFF CHILDRESS

         53.    Plaintiff Childress’ mortgage is presently serviced by Defendant Nationstar.

ANSWER: Nationstar admits that Plaintiff Childress has a mortgage that is serviced by

Nationstar.

         54.    Since at least July 19, 2012, Defendant has placed numerous telephone calls to

Plaintiff Childress’ cellular phone without having obtained her express consent to do so.

ANSWER: Nationstar denies these allegations.

         55.    Each of these telephone calls was initiated with an ATDS and each of the

telephone calls were made to “remind” Plaintiff Childress to pay her mortgage, even though

Plaintiff Childress was still within the grace period for such payments.

ANSWER: Nationstar denies that it placed calls to Childress using an automatic telephone




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dialing system. Nationstar is without sufficient knowledge or information to form a belief

as to the truth of the allegations in this Paragraph and, on that basis, denies them.

       56.        Plaintiff Childress did not consent to receiving these telephone calls on her

cellular phone.

ANSWER: Nationstar denies these allegations.

       57.        Defendant was and is aware that the above described telephone calls were and are

being made to Plaintiff Childress’ cellular telephone number without her prior express consent to

receive them.

ANSWER: Nationstar denies these allegations.

       58.        The last four digits of Plaintiff Childress’ cellular telephone number are 5979.

ANSWER: Nationstar is without sufficient knowledge or information to form a belief as to

the truth of the allegations in this Paragraph and, on that basis, denies them.

                           FACTS SPECIFIC TO PLAINTIFF DOYLE

       59.        Plaintiff Doyle’s mortgage is presently serviced by Defendant Nationstar.

ANSWER: Nationstar admits that Plaintiff Doyle has a mortgage that is serviced by

Nationstar.

       60.        Since at least July 2014, Defendant has placed numerous telephone calls to

Plaintiffs cellular phone without having obtained his express consent to do so.

ANSWER: Nationstar denies these allegations.

       61.        Plaintiff Doyle has received daily telephone calls from the following telephone

numbers on his cellular phone: (i) 877-698-9400; (ii) 888-850-9398; and (iii) 866-316-2432.

These telephone numbers belong to and connect directly to Defendant Nationstar.

ANSWER: Nationstar is without sufficient knowledge or information to form a belief as to




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the truth of the allegations in this Paragraph and, on that basis, denies them.

       62.    For example, Plaintiff Doyle received telephone calls from one or more of the

foregoing telephone numbers on his cellular phone on and at the following dates and times:

              a.      September 22, 2014 at 2:39 p.m.;

              b.      September 24, 2014 at 11:06 a.m.;

              c.      September 25, 2014 at 4:32 p.m.;

              d.      September 26, 2014 at 11:34 a.m.;

              e.      September 28, 2014 at 6:33 p.m.;

              f.      September 29, 2014 at 3:32 p.m.;

              g.      October 3, 2014 at 6:46 p.m.;

              h.      October 7, 2014 at 10:04 a.m.;

              i.      October 7, 2014 at 4:55 p.m.;

              j.      October 8, 2014 at 10:36 a.m.;

              k.      October 9, 2014 at 10:07 a.m.;

              1.      October 9, 2014 at 5:18 p.m.;

              m.      October 13, 2014 at 4:17 p.m.; and

              n.      October 13, 2014 at 8:41 p.m.

ANSWER: Nationstar admits that it placed certain calls to a phone number ending in

numbers -3493 with Doyle’s prior express consent.            Nationstar is without sufficient

knowledge or information to form a belief as to the truth of the allegations in this

Paragraph and, on that basis, denies them.

       63.    Each of these telephone calls was initiated with an ATDS and each of the

telephone calls were made to “remind” Plaintiff Doyle to pay his mortgage, even though Plaintiff




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Doyle was still within the grace period for such payments.

ANSWER: Nationstar denies that it placed calls to Doyle using an automatic telephone

dialing system. Nationstar is without sufficient knowledge or information to form a belief

as to the truth of the allegations in this Paragraph and, on that basis, denies them.

         64.    Plaintiff Doyle did not consent to receiving these telephone calls on his cellular

phone.

ANSWER: Nationstar denies these allegations.

         65.    Defendant was and is aware that the above described telephone calls were and are

being made to Plaintiff Doyle’s cellular telephone number without his prior express consent to

receive them.

ANSWER: Nationstar denies these allegations.

         66.    The last four digits of Plaintiff Doyle’s cellular telephone number are 3493.

ANSWER: Nationstar admits that a phone number associated with Doyle’s account ends

in number -3493. Nationstar is without sufficient knowledge or information to form a

belief as to the truth of the remaining allegations in this Paragraph and, on that basis,

denies them.

                        FACTS SPECIFIC TO PLAINTIFF JORDAN

         67.    Plaintiff Jordan does not have a mortgage held by, serviced by, or in any other

way associated with Defendant Nationstar. In fact, Plaintiff Jordan does not have any home

loans at all.

ANSWER: Nationstar admits that Plaintiff Jordan does not have a mortgage serviced by

Nationstar. Nationstar is without sufficient knowledge or information to form a belief as to

the truth of the remaining allegations in this Paragraph and, on that basis, denies them.




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       68.      Nevertheless, Defendant has placed numerous calls to Plaintiff Jordan’s telephone

since at least July 2013, often weekly, from the phone number (888) 811-5279.

ANSWER: Nationstar is without sufficient knowledge or information to form a belief as to

the truth of the allegations in this Paragraph and, on that basis, denies them.

       69.      The telephone number (888) 811-5279 belongs to and connects directly to

Defendant Nationstar.

ANSWER: Nationstar is without sufficient knowledge or information to form a belief as to

the truth of the allegations in this Paragraph and, on that basis, denies them.

       70.      The calls were placed to Jordan’s VOIP number, with the last four digits ending

in 5451.

ANSWER: Nationstar is without sufficient knowledge or information to form a belief as to

the truth of the allegations in this Paragraph and, on that basis, denies them.

       71.      When Plaintiff Jordan answered these calls he heard an artificial or pre-recorded

voice identifying the caller as Nationstar and requesting that he call Nationstar back. However,

when Plaintiff Jordan called Nationstar back to stop the calls, he was greeted with another

prerecorded message directing him to input his telephone number and Social Security number to

identify his loan. Because Plaintiff Jordan does not have a loan with Defendant, he was unable

to get past these requests. Additionally, pressing “0” only brought him back to the main menu.

As such, despite Plaintiff Jordan’s best efforts he could not stop the calls and they continued on a

repeat basis.

ANSWER: Nationstar is without sufficient knowledge or information to form a belief as to

the truth of the allegations in this Paragraph and, on that basis, denies them.

       72.      In a final effort to stop the calls, Plaintiff Jordan has put a block on his phone line




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for the number (888) 811-5279.

ANSWER: Nationstar is without sufficient knowledge or information to form a belief as to

the truth of the allegations in this Paragraph and, on that basis, denies them.

        73.    Plaintiff Jordan did not consent to receive calls of any kind from Defendant.

ANSWER: Nationstar is without sufficient knowledge or information to form a belief as to

the truth of the allegations in this Paragraph and, on that basis, denies them.

        74.    Defendant was and is aware that the above described telephone calls were and are

being made to Plaintiff Jordan’s telephone number without his prior express consent to receive

them.

ANSWER: Nationstar denies these allegations.

        75.    It is unclear what the purpose of the Defendant’s calls to Jordan was as Jordan

neither has a mortgage with Nationstar nor owes any debt to Nationstar.

ANSWER: Nationstar admits that Plaintiff Jordan does not have a mortgage serviced by

Nationstar. Nationstar is without sufficient knowledge or information to form a belief as to

the truth of the remaining allegations in this Paragraph and, on that basis, denies them.

              FACTS SPECIFIC TO PLAINTIFFS HALBERT AND SKELTON

        76.    Plaintiffs Halbert and Skelton are married. Their mortgage is presently held by

Defendant Nationstar.

ANSWER: Nationstar admits that Plaintiffs Halbert and Skelton have a mortgage that is

serviced by Nationstar. Nationstar is without sufficient knowledge or information to form

a belief as to the truth of the remaining allegations in this Paragraph and, on that basis,

denies them.

        77.    Since their mortgage was transferred to Defendant from their prior servicer,




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Halbert and Skelton have always timely made their payments within the allotted grace period.

ANSWER: Nationstar denies these allegations.

       78.     Yet, shortly after the mortgage was transferred to Nationstar in March 2012, and

having made no payments outside of Defendant’s grace period, Plaintiffs Halbert and Skelton

each began receiving numerous phone calls on their cellular telephones aggressively

“reminding” them to make payments, even though the payments were not yet beyond the grace

period. Many of these calls featured an artificial or pre-recorded voice. The calls came from, at

the very least, the phone number (877) 698-9400. The telephone number (877) 698-9400

belongs to Defendant Nationstar.

ANSWER: Nationstar is without sufficient knowledge or information to form a belief as to

the truth of the allegations in this Paragraph and, on that basis, denies them.

       79.     If Plaintiffs Halbert and Skelton did not answer the calls, Defendant would leave a

voicemail, often with a pre-recorded voice, stating “This is Nationstar calling regarding your

account, it’s urgent you contact us in the next 24 hours.”

ANSWER: Nationstar is without sufficient knowledge or information to form a belief as to

the truth of the allegations in this Paragraph and, on that basis, denies them.

       80.     Plaintiffs Halbert and Skelton placed a telephone call to Defendant in March 2012

and requested to be taken off the call list because their account was in good standing and they

always paid within the grace period. The customer service representative verified that Defendant

had received Plaintiffs Halbert’s and Skelton’s payment at the same day each month and that the

payments had not been late. The customer service representative ensured Halbert and Skelton

that they would not be called again.

ANSWER: Nationstar is without sufficient knowledge or information to form a belief as to




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the truth of the allegations in this Paragraph and, on that basis, denies them.

        81.     Despite the representative’s assurances, in April 2012 the calls resumed.

ANSWER: Nationstar is without sufficient knowledge or information to form a belief as to

the truth of the allegations in this Paragraph and, on that basis, denies them.

        82.     Because Defendant would not stop making calls, and because Plaintiffs Halbert

and Skelton found the calls to be a personal invasion of privacy and harassing, Plaintiff Skelton

submitted a formal complaint to the Better Business Bureau (“BBB”) about the calls indicating,

“We would like the illegal collection calls to stop.” The BBB forwarded the complaint to

Defendant Nationstar.

ANSWER: Nationstar is without sufficient knowledge or information to form a belief as to

the truth of the allegations in this Paragraph and, on that basis, denies them.

        83.     Shortly thereafter, Plaintiffs received a letter from Defendant Nationstar

indicating that it had received the BBB complaint. Defendant’s letter stated “We received

notification from the Better Business Bureau on April 11, 2012 regarding your request to cease

and desist collection calls on the above mentioned account. Please accept our apology if you

have experienced any inconvenience in this matter. Your account has been coded to cease the

collection calls.”

ANSWER: Nationstar is without sufficient knowledge or information to form a belief as to

the truth of the allegations in this Paragraph and, on that basis, denies them.

        84.     While the calls did cease for a time, Defendant yet again began making calls to

both Plaintiff Halbert and Plaintiff Skelton approximately six months later.

ANSWER: Nationstar is without sufficient knowledge or information to form a belief as to

the truth of the allegations in this Paragraph and, on that basis, denies them.




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        85.    Plaintiff Halbert answered several of these post-opt-out calls that were again

made with a pre-recorded voice and, after being connected to a live operator, explicitly requested

that the calls to him and Plaintiff Skelton cease. This, however, again failed to stop the calls.

ANSWER: Nationstar is without sufficient knowledge or information to form a belief as to

the truth of the allegations in this Paragraph and, on that basis, denies them.

        86.    Since that time, the calls have continued monthly up to and including the present.

ANSWER: Nationstar is without sufficient knowledge or information to form a belief as to

the truth of the allegations in this Paragraph and, on that basis, denies them.

        87.    Neither Halbert nor Skelton ever provided their cellular phone numbers to

Nationstar or otherwise consented to receive calls from Nationstar. Further, any putative consent

was expressly revoked.

ANSWER: Nationstar denies it placed calls to Halbert and Skelton without their prior

express consent. Nationstar is without sufficient knowledge or information to form a belief

as to the truth of the remaining allegations in this Paragraph and, on that basis, denies

them.

        88.    Defendant was and is aware that it was making the relevant calls to Plaintiffs

Halbert and Skelton without their prior express consent with the use of an ATDS and/or a

prerecorded voice.

ANSWER: Nationstar denies placing calls using an automatic telephone dialing system.

Nationstar is without sufficient knowledge or information to form a belief as to the truth of

the remaining allegations in this Paragraph and, on that basis, denies them.

        89.    Plaintiff Halbert’s cellphone ends in 9048, and Plaintiff Skelton’s cell phone ends

in 3225.




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ANSWER: Nationstar admits that phone numbers associated with Halbert and Skelton’s

account ends in numbers -9048 and -3225. Nationstar is without sufficient knowledge or

information to form a belief as to the truth of the remaining allegations in this Paragraph

and, on that basis, denies them.

                         FACTS SPECIFIC TO PLAINTIFF REED

         90.   Plaintiff Reed’s mortgage is presently serviced by Defendant Nationstar.

ANSWER:        Nationstar admits that Plaintiff Reed has a mortgage that is serviced by

Nationstar.

         91.   Since at least February 28, 2014, Defendant has placed numerous telephone calls

to Plaintiff Reed’s cellular and residential phone without having obtained his express consent to

do so.

ANSWER: Nationstar denies these allegations.

         92.   Plaintiff Reed has received daily telephone calls from telephone numbers on his

cellular and residential phones that belong to and connect directly to Defendant Nationstar.

ANSWER: Nationstar admits that it placed certain calls to a Reed’s phone numbers with

his prior express consent.

         93.   For example, Plaintiff Reed received telephone calls from one or more of the

foregoing telephone numbers on his or residential cellular phone on and at the following dates

and times:

               a.     February 28, 2014;

               b.     March 18, 2014;

               c.     March 20, 2014;

               d.     April 9, 2014;




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              e.     April 10, 2014;

              f.     April 11, 2014;

              g.     April 12, 2014;

              h.     April 14, 2014;

              i.     April 30, 2014;

              j.     May 16, 2014;

              k.     May 17, 2014;

              l.     May 20, 2014;

              m.     May 26, 2014;

              n.     May 30, 2014;

              o.     June 18, 2014;

              p.     June 21, 2014;

              q.     June 27, 2014 around 5:00 p.m.;

              r.     June 30, 2014 around 7:00 p.m.;

              s.     July 18, 2014 around 4:00 p.m.;

              t.     July 27, 2014 at 3:47 p.m.;

              u.     July 29, 2014 at 3:30 p.m.; and

              v.     July 30, 2014 at 4:35 p.m.

ANSWER: Nationstar admits that it placed certain calls to a Reed’s phone numbers with

his prior express consent. Nationstar is without sufficient knowledge or information to

form a belief as to the truth of the allegations in this Paragraph and, on that basis, denies

them.

        94.   Plaintiff Reed twice expressly requested that Nationstar cease making its




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harassing telephone calls to Plaintiff Reed’s cellular and residential telephone lines.

ANSWER: Nationstar is without sufficient knowledge or information to form a belief as to

the truth of the allegations in this Paragraph and, on that basis, denies them.

       95.     In particular, on March 7, 2014, Plaintiff Reed accessed his account information

online by logging onto www.nationstarmtg.com and providing his security credentials which

validate him as an authorized user. On doing so, Plaintiff Reed viewed a screen labeled “Contact

Update” that he had never seen when he had previously accessed his account information online.

On viewing this screen, Plaintiff noticed that both his cellular and home phone numbers had been

pre-populated in the boxes that appeared on this web page. Plaintiff also noticed that there was

another box next to his cellular telephone number which contained “check mark” in the box,

which Plaintiff understood meant that Nationstar would use Plaintiff’s cellular telephone as a

primary means of contacting Plaintiff.

ANSWER: Nationstar is without sufficient knowledge or information to form a belief as to

the truth of the allegations in this Paragraph and, on that basis, denies them.

       96.     Because Plaintiff had never consented or otherwise authorized Nationstar to

contact Plaintiff by calling either his cellular telephone or residential telephone, Plaintiff was

very disturbed on viewing this “Contact Update” screen. Similarly, Plaintiff never authorized

Nationstar to populate this web page, or any other part of its website, with either Plaintiff’s

cellular or residential telephone numbers. Accordingly, Plaintiff removed both his cellular and

residential telephone numbers from the “Contact Update” screen and also removed the “check

mark” that appeared in the box next to Plaintiff’s cellular telephone number and “saved” the

updated page to ensure that Nationstar was informed that Plaintiff had not, and would not,

consent to being telephoned by Nationstar on either his cellular or residential telephones.




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ANSWER: Nationstar is without sufficient knowledge or information to form a belief as to

the truth of the allegations in this Paragraph and, on that basis, denies them.

       97.     Plaintiff Reed also expressly requested that Nationstar cease its harassing

telephone calls to Plaintiff Reed’s cellular and residential lines in a letter dated April 30, 2014.

In this letter, Plaintiff Reed stated, ““Do not call my home or cell again! Like the other times I

have written saying the same thing. DO NOT CALL ME. Roger Reed.” (Emphasis added).

ANSWER: Nationstar is without sufficient knowledge or information to form a belief as to

the truth of the allegations in this Paragraph and, on that basis, denies them.

       98.     Despite these two requests, Nationstar repeatedly called Plaintiff Reed’s cellular

and residential lines.

ANSWER: Nationstar is without sufficient knowledge or information to form a belief as to

the truth of the allegations in this Paragraph and, on that basis, denies them.

       99.     The last four digits of Plaintiff Reed’s cellular telephone number is 4429 and the

last four digits of Plaintiff Reed’s residential telephone number is 9107.

ANSWER: Nationstar admits that phone numbers associated with Reed’s account ends in

numbers -4429 and -9107. Nationstar is without sufficient knowledge or information to

form a belief as to the truth of the remaining allegations in this Paragraph and, on that

basis, denies them.

                         FACTS SPECIFIC TO PLAINTIFF RUGGLES

       100.    Plaintiff Ruggles has had a cellular telephone since at least 2001. Plaintiff has

had the same cellular telephone number for at least ten years. Plaintiff’s current carrier is Sprint.

ANSWER: Nationstar is without sufficient knowledge or information to form a belief as to

the truth of the allegations in this Paragraph and, on that basis, denies them.




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       101.    In or about early November 2013, Plaintiff began receiving unsolicited telephone

calls from Nationstar. Sometimes Plaintiff did not answer these calls, and other times she

answered the phone. On some of the calls that Plaintiff answered, there was a period of silence

before a live person spoke, which indicates that a machine had dialed her number and then

waited for her to answer before bringing a representative on the line. For other calls, when

Plaintiff Ruggles answered she heard a prerecorded or artificial voice identifying the caller as

Nationstar

ANSWER: Nationstar is without sufficient knowledge or information to form a belief as to

the truth of the allegations in this Paragraph and, on that basis, denies them.

       102.    Initially, Nationstar would ask for Ruggles by her name, Vanessa Ruggles. On

other subsequent calls, however, Nationstar would ask to speak with Randall Fisher, a person

unassociated with Ruggles whom Ruggles does not know.

ANSWER: Nationstar is without sufficient knowledge or information to form a belief as to

the truth of the allegations in this Paragraph and, on that basis, denies them.

       103.    Like Plaintiff Jordan, Defendant called Ruggles repeatedly from phone number

(888) 811-5279. When Ruggles answered the phone, she repeatedly told Nationstar not to call

her again. Ruggles also called Defendant at (888) 811-5279 and requested that the calls stop.

During these discussions, a Nationstar employee or representative informed Ruggles that it

would take thirty days to process her request to stop the calls. Despite her repeated pleas,

Nationstar continued to call Plaintiff a total of approximately twenty-three (23) times between

November 2013 and December 4, 2013. During another one of the calls in or around November

2013, a Nationstar representative told Ruggles that Nationstar could keep calling because the

calls were courtesy calls, as opposed to solicitations.




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ANSWER: Nationstar is without sufficient knowledge or information to form a belief as to

the truth of the allegations in this Paragraph and, on that basis, denies them.

       104.   Plaintiff Ruggles is not a customer of Nationstar. Ruggles never provided her

cellular phone number to Nationstar. Ruggles does not have any business relationship with

Nationstar and never has.

ANSWER: Nationstar admits that Vanessa Ruggles does not have a mortgage serviced by

Nationstar. Nationstar is without sufficient knowledge or information to form a belief as to

the truth of the remaining allegations in this Paragraph and, on that basis, denies them.

       105.   The last four digits of Plaintiff Ruggles’ cellular telephone number are 5277.

ANSWER: Nationstar is without sufficient knowledge or information to form a belief as to

the truth of the allegations in this Paragraph and, on that basis, denies them.

                       FACTS SPECIFIC TO PLAINTIFF SOMERS

       106.   Plaintiff Somers’ mortgage is presently serviced by Defendant Nationstar.

ANSWER: Nationstar admits that Plaintiff Somers has a mortgage that is serviced by

Nationstar.

       107.   Since at least December 2013, Defendant has placed numerous telephone calls to

Plaintiff Somers’ residential phone without having obtained her express consent to do so.

ANSWER: Nationstar denies these allegations.

       108.   Plaintiff Somers has received these telephone calls from the telephone number

888-811-5279. This telephone number belongs to and connects directly to Defendant Nationstar.

ANSWER: Nationstar is without sufficient knowledge or information to form a belief as to

the truth of the allegations in this Paragraph and, on that basis, denies them.

       109.   Each of these telephone calls was initiated with an ATDS and a pre-recorded




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voice. Each of the telephone calls were made to “remind” Plaintiff Somers to pay her mortgage,

even though Plaintiff Somers was still within the grace period for such payments.

ANSWER: Nationstar denies that it placed calls to Somers using an automatic telephone

dialing system. Nationstar is without sufficient knowledge or information to form a belief

as to the truth of the allegations in this Paragraph and, on that basis, denies them.

         110.   For example, Plaintiff Somers received an astounding 16 telephone calls from

Nationstar, all made with an ATDS and a pre-recorded voice, since December 27, 2014.

ANSWER: Nationstar denies that it placed calls to Somers using an automatic telephone

dialing system. Nationstar is without sufficient knowledge or information to form a belief

as to the truth of the allegations in this Paragraph and, on that basis, denies them.

         111.   Plaintiff Somers did not consent to receiving these telephone calls on her cellular

phone.

ANSWER: Nationstar denies these allegations.

         112.   Defendant was and is aware that the above described telephone calls were and are

being made to Plaintiff Somers’ residential telephone number without her prior express consent

to receive them.

ANSWER: Nationstar denies these allegations.

         113.   The last four digits of Plaintiff Somers’ residential telephone number are 2660.

ANSWER: Nationstar admits that a phone number associated with Somer’s account ends

in number -2660. Nationstar is without sufficient knowledge or information to form a

belief as to the truth of the remaining allegations in this Paragraph and, on that basis,

denies them.




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                                   CLASS ALLEGATIONS

       114.    Plaintiffs bring this action pursuant to Federal Rules of Civil Procedure 23(b)(2)

and 23(b)(3) on behalf of themselves and the four Classes defined as follows:

       No Mortgage Class: All individuals in the United States to whom Defendant (1) placed
       a non-emergency telephone call to his or her cellular or residential landline telephone
       from February 21, 2010 to the present; (2) that was made utilizing an automatic telephone
       dialing system and / or a prerecorded or artificial voice; (3) which related to Defendant’s
       products or services; (4) where Defendant does not have a record of consent to place
       telephone calls to his or her cellular telephone number; and (5) who did not have a
       mortgage loan serviced or owned by Nationstar when the call was made.

       Mortgage Class: All individuals in the United States to whom Defendant (1) placed a
       non-emergency telephone call to his or her cellular or residential landline telephone from
       February 21, 2010 to the present; (2) that was made utilizing an automatic telephone
       dialing system and / or by a prerecorded or artificial voice; (3) which related to
       Defendant’s products or services; (4) where Defendant does not have a record of consent
       to place telephone calls to his or her cellular telephone number; and (5) who had a
       mortgage loan serviced or owned by Nationstar when the call was made.

       Opt-Out Class: All individuals in the United States to whom Defendant (1) placed a
       non-emergency telephone call to his or her cellular or residential landline telephone from
       February 21, 2010 to the present; (2) that was made utilizing an automatic telephone
       dialing system and / or a prerecorded or artificial voice; (3) which related to Defendant’s
       products or services; (4) and, following such calls, he or she made a request to Defendant
       that he or she no longer receive telephone calls from Defendant; and (5) thereafter
       Defendant placed additional telephone calls to his or her cellular telephone.

Excluded from the Classes are (1) Defendant, Defendant’s agents, subsidiaries, parents,

successors, predecessors, and any entity in which the Defendant or their parents have a

controlling interest and their current and former employees, officers, and directors, (2) the Judge

or Magistrate Judge to whom this case is assigned and the Judge’s or Magistrate Judge’s

immediate family, (3) persons who execute and file a timely request for exclusion, (4) persons

whose claims in this matter have been finally adjudicated or otherwise released, (5) the legal

representatives, successors, or assigns of any such excluded person, and (6) Plaintiffs’ counsel

and Defendant’s counsel.

ANSWER: Nationstar denies that Plaintiffs are proper class representatives, denies that


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the proposed class definitions are proper, and denies that this action is appropriate for

class treatment.

       115.    Numerosity: The exact number of Class members is unknown and not available

to Plaintiffs at this time, but it is clear that individual joinder is impracticable. On information

and belief, Defendant has made telephone calls to at least thousands of consumers who fall into

the definitions of the Classes. Class members can be identified through Defendant’s records.

ANSWER: Nationstar denies that the proposed class definitions are proper, denies that

class members are ascertainable or identifiable, and denies that this action is appropriate

for class treatment.

       116.    Typicality: Plaintiffs’ claims are typical of the claims of other members of the

Classes, in that Plaintiffs are members of the Classes and the members of the Classes sustained

damages arising out of Defendant’s uniform wrongful conduct and unsolicited telephone calls.

ANSWER:       Nationstar denies these allegations, denies that Plaintiffs are proper class

representatives, denies that Plaintiffs’ claims are typical, denies that the proposed class

definitions are proper, and denies that this action is appropriate for class treatment.

       117.    Adequate Representation: Plaintiffs will fairly and adequately represent and

protect the interests of the Classes and have retained counsel competent and experienced in

complex class actions. Plaintiffs have no interests antagonistic to those of the Classes, and

Defendant has no defenses unique to any of the Plaintiffs.

ANSWER: Nationstar denies that Plaintiffs are proper or adequate class representatives,

denies that the proposed class definitions are proper, and denies that this action is

appropriate for class treatment.

       118.    Commonality and Predominance: There are many questions of law and fact




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common to the claims of Plaintiffs and the Classes, and those questions predominate over any

questions that may affect individual members of the Classes as they are the issues at the heart of

each claim. Common questions for the Classes are subject to common proof and answerable for

the entirety of the Classes within a single stroke include, but are not necessarily limited to, the

following:

               a.     whether Defendant’s calls violated the TCPA;

               b.     whether the equipment Defendant used to make telephone calls to

                      members of the Classes was an automatic telephone dialing system or

                      prerecorded voice as contemplated by the TCPA;

               c.     whether Defendant systematically made telephone calls to members of the

                      Classes who did not previously provide Defendant with their prior express

                      consent to receive such telephone calls;

               d.     whether Defendant made its calls for emergency purposes; and

               e.     whether members of the Classes are entitled to treble damages based on

                      the willfulness of Defendant’s conduct.

ANSWER:       Nationstar denies these allegations, denies that Plaintiffs are proper class

representatives, denies there are common questions of law or fact that predominate over

individual issues, denies that the proposed class definitions are proper, and denies that this

action is appropriate for class treatment.

       119.    Superiority & Manageability:            This case is also appropriate for class

certification as class proceedings are superior to all other available methods for the fair and

efficient adjudication of this controversy. Joinder of all parties is impracticable. The damages

suffered by the individual members of the Classes will likely be relatively small, especially given




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the burden and expense required for individual prosecution of the complex litigation necessitated

by Defendant’s actions. Thus, it would be virtually impossible for the individual members of the

Classes to obtain effective relief from Defendant’s misconduct. Even if members of the Classes

could sustain such individual litigation, it would still not be preferable to a class action because

individual litigation would increase the delay and expense to all parties due to the complex legal

and factual controversies presented in this Complaint. By contrast, a class action presents far

fewer management difficulties and provides the benefits of single adjudication, economies of

scale, and comprehensive supervision by a single Court. Economies of time, effort, and expense

will be fostered and uniformity of decisions ensured.

ANSWER: Nationstar denies that the proposed class definitions are proper, denies that

class proceedings are superior, and denies that this action is appropriate for class

treatment.

                                            COUNT I
                             Violation of the TCPA, 47 U.S.C. § 227
            (On behalf of Plaintiffs Ruggles and Jordan, and the No Mortgage Class)

          120.   Plaintiffs incorporate by reference the foregoing allegations as if fully set forth

herein.

ANSWER: Nationstar incorporates by reference its responses to Paragraphs 1 through

119 of the FAC as though fully set forth herein.

          121.   Defendant made, or directed to be made, unsolicited telephone calls to cellular

and landline telephone numbers belonging to Plaintiffs Ruggles, Jordan and other members of

the No Mortgage Class without their prior express consent to receive such calls. In fact, like

Plaintiffs, none of the members of the No Mortgage Class had a mortgage loan serviced or

owned by Nationstar.

ANSWER: Nationstar is without sufficient knowledge or information to form a belief as to


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the truth of the allegations in this Paragraph and, on that basis, denies them.

       122.    Defendant and/or its agents made the telephone calls (1) using equipment that had

the capacity to store, generate or produce telephone numbers to be called using a random or

sequential number generator, and/or receive and store lists of phone numbers, and to dial such

numbers, en masse and/or (2) using a prerecorded or artificial voice.

ANSWER: Nationstar denies that it made telephone calls using equipment that had the

capacity to store, generate, or produce telephone numbers to be called using a random or

sequential number generator. Nationstar also denies using an automatic telephone dialing

system. Nationstar is without sufficient knowledge or information to form a belief as to the

truth of the allegations in this Paragraph and, on that basis, denies them.

       123.    Defendant utilized equipment that made, or had made on its behalf, the telephone

calls to Plaintiffs and other members of the No Mortgage Class simultaneously and without

human intervention. Specifically, Defendant utilizes an Avaya predictive dialer and telephone

system, among potentially other brands of automatic telephone dialing systems.

ANSWER: Nationstar denies that it made telephone calls using an automatic telephone

dialing system, or that it placed calls without human intervention. Nationstar is without

sufficient knowledge or information to form a belief as to the truth of the allegations in this

Paragraph and, on that basis, denies them.

       124.    By making, or having made on its behalf, the unsolicited telephone calls to

Plaintiffs and the No Mortgage Class members’ cellular telephones without their prior express

consent, and by utilizing an ATDS or pre-recorded voice to make those calls, Defendant has

violated 47 U.S.C. §§ 227(b)(1)(A)(iii) and 227(b)(1)(B).

ANSWER: Nationstar denies violating any provisions of the TCPA or any other statutory




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or common law in any manner and denies using an automatic telephone dialing system.

          125.   As a result of Defendant’s unlawful conduct, Plaintiffs and the members of the No

Mortgage Class have suffered invasions of privacy and actual damages, including in the form of

monies paid to receive the unsolicited telephone calls on their cellular phones and under section

227(b)(3)(B) are each entitled to, inter alia, a minimum of $500 in damages for each such

violation of the TCPA plus injunctive relief to stop the calls.

ANSWER: Nationstar denies violating any provisions of the TCPA or any other statutory

or common law in any manner. Nationstar also denies that Plaintiffs and the purported

class they seek to represent are entitled to any damages, remedies, or recovery from

Nationstar.

          126.   Should the Court determine that Defendant’s conduct was willful and knowing,

the Court may, pursuant to section 227(b)(3), treble the amount of statutory damages recoverable

by Plaintiff and the other members of the No Mortgage Class.

ANSWER: Nationstar denies violating any provisions of the TCPA or any other statutory

or common law in any manner. Nationstar also denies that Plaintiffs and the purported

class they seek to represent are entitled to any damages, remedies, or recovery from

Nationstar.

                                          COUNT II
                           Violation of the TCPA, 47 U.S.C. § 227
   (On behalf of Plaintiffs Wright, Stewart, Childress, Doyle, Skelton, Halbert, Reed and
                              Somers, and the Mortgage Class)

          127.   Plaintiffs incorporate by reference the foregoing allegations as if fully set forth

herein.

ANSWER: Nationstar incorporates by reference its responses to Paragraphs 1 through

126 of the FAC as though fully set forth herein.



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       128.    Defendant made, or directed to be made, unsolicited telephone calls to cellular

and/or residential landline telephone numbers belonging to Plaintiffs and other members of the

Mortgage Class without their prior express consent to receive such calls. Although members of

the Mortgage had mortgages held or serviced by Nationstar at the time the calls were placed,

such consumers had never provided Nationstar with consent to be called using either an ATDS

or with a pre-recorded voice.

ANSWER: Nationstar denies placing calls using an automatic telephone dialing system or

placing calls to customers without prior express consent.               Nationstar further denies

violating any provisions of the TCPA or any other statutory or common law in any

manner.

       129.    Defendant and/or its agents made the telephone calls (1) using equipment that had

the capacity to store, generate or produce telephone numbers to be called using a random or

sequential number generator, and/or receive and store lists of phone numbers, and to dial such

numbers, en masse and/or (2) using a prerecorded or artificial voice.

ANSWER: Nationstar denies that it made telephone calls using equipment that had the

capacity to store, generate, or produce telephone numbers to be called using a random or

sequential number generator. Nationstar also denies using an automatic telephone dialing

system. Nationstar is without sufficient knowledge or information to form a belief as to the

truth of the allegations in this Paragraph and, on that basis, denies them.

       130.    Defendant utilized equipment that made, or had made on its behalf, the telephone

calls to Plaintiffs and other members of the Mortgage Class simultaneously and without human

intervention. Specifically, Defendant utilizes an Avaya predictive dialer and telephone system,

among potentially other brands of automatic telephone dialing systems.




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ANSWER: Nationstar denies that it made telephone calls using equipment that had the

capacity to store, generate, or produce telephone numbers to be called using a random or

sequential number generator, or that it placed calls without human intervention.

Nationstar also denies using an automatic telephone dialing system. Nationstar is without

sufficient knowledge or information to form a belief as to the truth of the remaining

allegations in this Paragraph and, on that basis, denies them.

       131.    By making, or having made on its behalf, the unsolicited telephone calls to

Plaintiffs and the Mortgage Class members’ cellular and/or residential landline telephones

without their prior express consent, and by utilizing an ATDS or pre-recorded voice to make

those calls, Defendant has violated 47 U.S.C. §§ 227(b)(1)(A)(iii) and 227(b)(1)(B).

ANSWER: Nationstar denies that it made telephone calls using an automatic telephone

dialing system. Nationstar further denies violating any provisions of the TCPA or any

other statutory or common law in any manner.

       132.    As a result of Defendant’s unlawful conduct, Plaintiffs and the members of the

Mortgage Class have suffered invasions of privacy and actual damages, including in the form of

monies paid to receive the unsolicited telephone calls on their cellular phones and under section

227(b)(3)(B) are each entitled to, inter alia, a minimum of $500 in damages for each such

violation of the TCPA plus injunctive relief to stop the calls.

ANSWER: Nationstar denies violating any provisions of the TCPA or any other statutory

or common law in any manner. Nationstar also denies that Plaintiffs and the purported

class they seek to represent are entitled to any damages, remedies, or recovery from

Nationstar.

       133.    Should the Court determine that Defendant’s conduct was willful and knowing,




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the Court may, pursuant to section 227(b)(3), treble the amount of statutory damages recoverable

by Plaintiffs and the other members of the Mortgage Class.

ANSWER: Nationstar denies violating any provisions of the TCPA or any other statutory

or common law in any manner.

                                         COUNT III
                          Violation of the TCPA, 47 U.S.C. § 227
  (On behalf of Plaintiff Wright, Skelton, Halbert, Reed, Ruggles and the Opt-Out Class)

          134.   Plaintiffs incorporate by reference the foregoing allegations as if fully set forth

herein.

ANSWER: Nationstar incorporates by reference its responses to Paragraphs 1 through

133 of the FAC as though fully set forth herein.

          135.   Defendant made, or directed to be made, unsolicited telephone calls to cellular or

residential landline telephone numbers belonging to Plaintiffs and other members of the Opt-Out

Class without their prior express consent to receive such calls.

ANSWER: Nationstar is without sufficient knowledge or information to form a belief as to

the truth of the allegations in this Paragraph and, on that basis, denies them.

          136.   Defendant and/or its agents made the telephone calls (1) using equipment that had

the capacity to store, generate or produce telephone numbers to be called using a random or

sequential number generator, and/or receive and store lists of phone numbers, and to dial such

numbers, en masse and/or (2) using a prerecorded or artificial voice.

ANSWER: Nationstar denies that it made telephone calls using equipment that had the

capacity to store, generate, or produce telephone numbers to be called using a random or

sequential number generator. Nationstar also denies using an automatic telephone dialing

system. Nationstar further denies violating any provisions of the TCPA or any other

statutory or common law in any manner. Nationstar is without sufficient knowledge or


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information to form a belief as to the truth of the allegations in this Paragraph and, on that

basis, denies them.

       137.    Defendant utilized equipment that made, or had made on its behalf, the telephone

calls to Plaintiffs and other members of the Opt-Out Class simultaneously and without human

intervention. Specifically, Defendant utilizes an Avaya predictive dialer and telephone system,

among potentially other brands of automatic telephone dialing systems.

ANSWER: Nationstar denies that it made telephone calls using equipment that had the

capacity to store, generate, or produce telephone numbers to be called using a random or

sequential number generator, or that it placed calls without human intervention.

Nationstar also denies using an automatic telephone dialing system. Nationstar is without

sufficient knowledge or information to form a belief as to the truth of the remaining

allegations in this Paragraph and, on that basis, denies them.

       138.    Plaintiff Wright and the members of the Opt-Out Class requested that Defendant

cease calling them. However, the Defendant continued to call them following receipt of their

requests that Defendant cease placing such calls.     Further, Nationstar failed to implement

adequate safeguards or internal controls designed to prevent or minimize its re-calling of

consumers who have requested that the calls cease.

ANSWER: Nationstar denies that it failed to implement adequate safeguards or internal

controls designed to prevent or minimize its re-calling of consumers who have requested

that the calls cease. Nationstar is without sufficient knowledge or information to form a

belief as to the truth of the remaining allegations in this Paragraph and, on that basis,

denies them.

       139.    By making, or having made on its behalf, the unsolicited telephone calls to




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Plaintiff Wright and Opt-Out Class members’ cellular or residential landline telephones after the

Plaintiffs and Opt-Out Class members revoked any consent or requested that Defendant cease

placing such calls, by calling Plaintiff Wright and the Opt-Out Class members without their

consent, and by utilizing an automatic telephone dialing system to make those calls, Defendant

has violated 47 U.S.C. §§ 227(b)(1)(A)(iii) and 227(b)(1)(B).

ANSWER: Nationstar also denies using an automatic telephone dialing system. Nationstar

further denies violating any provisions of the TCPA or any other statutory or common law

in any manner. Nationstar also denies that Plaintiffs and the purported class they seek to

represent are entitled to any damages, remedies, or recovery from Nationstar.

       140.    As a result of Defendant’s unlawful conduct, Plaintiff Wright and the members of

the Opt-Out Class suffered invasions of privacy and actual damages, including damages in the

form of monies paid to receive the unsolicited telephone calls on their cellular phones and under

section 227(b)(3)(B) are each entitled to, inter alia, a minimum of $500 in damages for each such

violation of the TCPA plus injunctive relief to stop the calls.

ANSWER: Nationstar denies violating any provisions of the TCPA or any other statutory

or common law in any manner. Nationstar also denies that Plaintiffs and the purported

class they seek to represent are entitled to any damages, remedies, or recovery from

Nationstar.

       141.    Should the Court determine that Defendant’s conduct was willful and knowing,

the Court may, pursuant to section 227(b)(3), treble the amount of statutory damages recoverable

by Plaintiffs and the other members of the Opt-Out Class.

ANSWER: Nationstar denies violating any provisions of the TCPA or any other statutory

or common law in any manner.




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                                 AFFIRMATIVE DEFENSES

                              FIRST AFFIRMATIVE DEFENSE

                                      (Unconstitutionality)

       1.      47 U.S.C. § 227(b)(3), allowing open-ended statutory damages for “each such

violation” without limitation, is invalid on its face and as applied to Nationstar as violating the

First Amendment and Due Process and Equal Protection Clauses of the Fourteenth Amendment

of the United States Constitution.

                            SECOND AFFIRMATIVE DEFENSE

                           (No Automatic Telephone Dialing System)

       2.      Nationstar did not use an “automatic telephone dialing system” as defined by the

TCPA to make the calls alleged in the FAC because Nationstar’s equipment lacked the capacity

to store, generate, or produce telephone numbers to be called using a random or sequential

number generator.

                             THIRD AFFIRMATIVE DEFENSE

                                      (No Charge for Calls)

       3.      Plaintiffs and others alleged to be members of the purported class were not

“charged” for the alleged telephone calls, as required to state a claim under the TCPA because

they are not subscribers of the telephone numbers at issue.

                            FOURTH AFFIRMATIVE DEFENSE

                                     (Prior Express Consent)

       4.      Plaintiffs and others alleged to be members of the purported class gave Nationstar

prior express consent for the telephone calls at issue in this action, either by providing their

respective telephone numbers to Nationstar or in a different manner allowed under the TCPA.




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47 U.S.C. § 227(b)(1)(A).

                              FIFTH AFFIRMATIVE DEFENSE

                                     (Not a “Called Party”)

       5.     Plaintiffs and others alleged to be members of the purported class do not qualify

as a “called party,” within the meaning of the TCPA because they were not the intended

recipients of the alleged calls dialed by Nationstar and/or were not the subscribers of the

telephone numbers at issue.

                              SIXTH AFFIRMATIVE DEFENSE

                                    (Unintended Recipient)

       6.     Plaintiffs and others alleged to be members of the purported class who did not

have a mortgage serviced by Nationstar were the unintended recipients of any calls made by

Nationstar.

                            SEVENTH AFFIRMATIVE DEFENSE

                                  (Non-Telemarketing Calls)

       7.     The calls alleged by Plaintiffs, Jordan, Childress, Somers, and Reed were not for

telemarketing purposes.

                              EIGHTH AFFIRMATIVE DEFENSE

                                (Existing Business Relationship)

       8.     Plaintiffs and others alleged to be members of the purported class have an existing

business relationship with Nationstar because they have a mortgage serviced by Nationstar.

                              NINTH AFFIRMATIVE DEFENSE

                                (Class Treatment Inappropriate)

       9.     To the extent Plaintiffs seek to bring this FAC on behalf of a class, this action




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cannot be maintained as a class action because, inter alia, Plaintiffs do not and cannot satisfy the

requirements of Rule 23 of the Federal Rules of Civil Procedure

                             TENTH AFFIRMATIVE DEFENSE

                                   (Compliance with the Law)

       10.     Plaintiffs’ claims and the claims of others alleged to be members of the purported

class may be barred because the acts or omissions of which Plaintiffs complain have been

approved and/or mandated, implicitly or expressly, by applicable statutes and regulations,

including the TCPA.

                           ELEVENTH AFFIRMATIVE DEFENSE

                      (Good Faith/Conformance with Applicable Standards)

       11.     Plaintiffs’ claims and alleged damages, and the claims and alleged damages of

others alleged to be members of the purported class, may be barred because Nationstar at all

times complied in good faith with all applicable statutes and regulations, and Plaintiffs and the

members of the purported class are not entitled to treble damages.

                           TWELFTH AFFIRMATIVE DEFENSE

                                           (No Malice)

       12.     Nationstar specifically denies that it acted with any knowledge, willfulness,

oppression, fraud, or malice towards Plaintiffs or others, and therefore Plaintiffs and the

members of the purported class are not entitled to treble damages.

                         THIRTEENTH AFFIRMATIVE DEFENSE

                                  (Right to Compel Arbitration)

       13.     Nationstar reserves its right to compel arbitration of this matter, pursuant to the

relevant agreement with Plaintiffs and others alleged to be members of the purported class.




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       WHEREFORE, Nationstar prays for judgment as follows:

              1.     That Plaintiffs and the members of the putative class take nothing by

reason of the FAC;

              2.     For its costs of suit herein;

              3.     For attorneys’ fees according to proof; and

              4.     For such other and further relief as this Court may deem just and proper.



Dated: April 10, 2015

                                                 NATIONSTAR MORTGAGE, LLC

                                                 By: /s/ Timothy R. Carraher
                                                       One of its attorneys

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                                CERTIFICATION OF SERVICE

          On April 10, 2015, I electronically filed the foregoing with the Clerk of the Court using

the CM/ECF system, which sent electronic notification of such filing to all other parties of

record.



                                                  /s/ Timothy R. Carraher




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